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Attorney for Defendant


               IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ALASKA



G.A.W.,                                      Case No. 3:13-cv-00218 RRB

                  Plaintiff,

      v.                                     JOINT STIPULATION OF
                                             DISMISSAL
UNITED STATES OF AMERICA,

                  Defendant.

      The Plaintiff and the Defendant, through counsel, stipulate that all

claims that were asserted or could have been asserted by Plaintiff against the

United States in this action may be dismissed with prejudice, with each party

to bear its own costs, expenses and attorney’s fees.




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        RESPECTFULLY SUBMITTED on July 22, 2015.
                                           KAREN L. LOEFFLER
                                           United States Attorney


                                           s/Gary M. Guarino
                                           Assistant U.S. Attorney
                                           Attorney for the Defendant


                                           Law Office of Kenneth Norsworthy
                                           Attorney for Plaintiff


                                           s/Kenneth A. Norsworthy
                                           ABA No. 7705055

CERTIFICATE OF SERVICE

I hereby certify that on July 22, 2015,
a copy of the foregoing was served on:

Kenneth A. Norsworthy, Esq.

s/ Gary M. Guarino




G.A.W. v The United States,
Case No. 3:13-cv-00218-RRB                 2


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